           Case 3:07-cv-05944-JST Document 3227 Filed 12/19/14 Page 1 of 6


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     SDN. BHD.
 9

10                                    UNITED STATES DISTRICT COURT

11                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

12                                        SAN FRANCISCO DIVISION

13
     IN RE CATHODE RAY TUBE (CRT)                                Master File No. 3:07-cv-5944-SC
14   ANTITRUST LITIGATION                                        MDL No. 1917
15

16   This Documents Relates To:
17                                                               STIPULATION AND
     Best Buy Co. Inc. et al. v. Hitachi, Ltd. et al., No.
18   3:11-cv-05513-SC                                            [PROPOSED] ORDER RESOLVING
                                                                 DEFENDANTS CHUNGHWA
19   CompuCom Sys., Inc. v. Hitachi, Ltd. et al., No.            PICTURE TUBES, LTD. AND
     3:11-cv-06396-SC
                                                                 CHUNGHWA PICTURE TUBES
20                                                               (MALAYSIA) SDN. BHD.’S MOTION
     Interbond Corp. of Am. v. Hitachi, Ltd. et al., No.
     3:11-cv-06275-SC                                            TO DISMISS FOR LACK OF
21                                                               PERSONAL JURISDICTION
22   Office Depot, Inc. v. Hitachi, Ltd. et al., No. 3:11-
     cv-06276-SC
23
     P.C. Richard & Son Long Island Corp. et al. v.
24   Hitachi, Ltd. et al., No. 3:12-cv-02648-SC

25   Schultze Agency Services, LLC v. Hitachi, Ltd. et
     al., No. 3:12-cv-02649-SC
26
     Sears, Roebuck and Co. et al. v. Chunghwa
27   Picture Tubes, Ltd. et al., No. 3:11-cv-05514-SC

28   [continued on next page]
                                                             1
        STIPULATION AND [PROPOSED] ORDER RESOLVING DEFENDANTS CHUNGHWA PICTURE TUBES, LTD. AND CHUNGHWA
               PICTURE TUBES (MALAYSIA) SDN. BHD.’S MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION
                                           MASTER CASE NO. 07-CV-5944 SC
             Case 3:07-cv-05944-JST Document 3227 Filed 12/19/14 Page 2 of 6


 1
     Target Corp. v. Chunghwa Picture Tubes, Ltd. et
 2   al., No. 3:11-cv-05514-SC
 3

 4            WHEREAS, Defendants Chunghwa Picture Tubes, Ltd. and Chunghwa Picture Tubes
 5
     (Malaysia) Sdn. Bhd. (collectively “CPT”) filed a Motion to Dismiss for Lack of Personal
 6
     Jurisdiction on November 5, 2014 (ECF No. 2960) (“Motion”);
 7
              WHEREAS, the Court previously ruled on Motions to Dismiss for Lack of Personal
 8

 9   Jurisdiction, ECF No. 2437 and ECF No. 2611, and found that personal jurisdiction existed over

10   other defendants;

11            WHEREAS, the Direct Action Plaintiffs (collectively “Plaintiffs”) and CPT seek to avoid
12
     expending time and the Court’s limited resources;
13
              NOW THEREFORE, IT IS HEREBY STIPULATED by the undersigned counsel on behalf of
14
     CPT and Plaintiffs (the “Stipulating Parties”), that:
15
              1.      The Court’s prior rulings on March 13, 2014 (ECF No. 2437) and June 9, 2014 (ECF
16

17   No. 2611) apply to CPT’s Motion, and CPT’s Motion is hereby denied;

18            2.      The Stipulating Parties preserve their right to appeal the denial of CPT’s Motion, and
19   all arguments, including arguments regarding whether those prior rulings are correct or incorrect, are
20
     preserved for appeal as to CPT’s Motion.
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           STIPULATION AND [PROPOSED] ORDER RESOLVING DEFENDANTS CHUNGHWA PICTURE TUBES, LTD. AND CHUNGHWA
                  PICTURE TUBES (MALAYSIA) SDN. BHD.’S MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION
                                              MASTER CASE NO. 07-CV-5944 SC
          Case 3:07-cv-05944-JST Document 3227 Filed 12/19/14 Page 3 of 6


 1   Dated: December 12, 2014                             /s/ Rachel S. Brass__         _________
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 8                                                        Tubes, Ltd. and Chunghwa Picture Tubes
                                                          (Malaysia) Sdn. Bhd.
 9

10                                                        /s/ Philip J. Iovieno______           ___
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        STIPULATION AND [PROPOSED] ORDER RESOLVING DEFENDANTS CHUNGHWA PICTURE TUBES, LTD. AND CHUNGHWA
               PICTURE TUBES (MALAYSIA) SDN. BHD.’S MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION
                                           MASTER CASE NO. 07-CV-5944 SC
          Case 3:07-cv-05944-JST Document 3227 Filed 12/19/14 Page 4 of 6


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26                                                         Counsel for Plaintiff Sears, Roebuck and Co.
                                                           and Kmart Corp.
27
     Pursuant to Local Civil Rule 5-1(i), the filer attests that concurrence in the filing of this document has
28   been obtained from each of the above signatories.
                                                          4
        STIPULATION AND [PROPOSED] ORDER RESOLVING DEFENDANTS CHUNGHWA PICTURE TUBES, LTD. AND CHUNGHWA
               PICTURE TUBES (MALAYSIA) SDN. BHD.’S MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION
                                           MASTER CASE NO. 07-CV-5944 SC
          Case 3:07-cv-05944-JST Document 3227 Filed 12/19/14 Page 5 of 6


                                                                             ISTRIC
 1   PURSUANT TO STIPULATION, IT IS SO ORDERED.
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     Dated:   12/18/2014
 4                                                            Honorable Samuel Conti




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                                                              U.S. District Judge
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        STIPULATION AND [PROPOSED] ORDER RESOLVING DEFENDANTS CHUNGHWA PICTURE TUBES, LTD. AND CHUNGHWA
               PICTURE TUBES (MALAYSIA) SDN. BHD.’S MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION
                                           MASTER CASE NO. 07-CV-5944 SC
          Case 3:07-cv-05944-JST Document 3227 Filed 12/19/14 Page 6 of 6


 1                                         DECLARATION OF SERVICE
 2          I, Joseph Hansen, declare as follows:
 3           I am employed in the County of San Francisco, State of California; I am over the age of
     eighteen years and am not a party to this action; my business address is 555 Mission Street, Suite
 4   3000, San Francisco, California, 94105, in said County and State. On the date below, I served the
     within:
 5
            STIPULATION AND [PROPOSED] ORDER RESOLVING DEFENDANTS
 6          CHUNGHWA PICTURE TUBES, LTD. AND CHUNGHWA PICTURE TUBES
            (MALAYSIA) SDN. BHD.’S MOTION TO DISMISS FOR LACK OF PERSONAL
 7          JURISDICTION
 8   to all named counsel of record as follows:
 9             BY ECF (ELECTRONIC CASE FILING): I e-filed the above-detailed documents utilizing the
10   ;         United States District Court, Northern District of California’s mandated ECF (Electronic Case Filing) service
               on December 12, 2014. Counsel of record are required by the Court to be registered e-filers, and as such are
               automatically e-served with a copy of the documents upon confirmation of e-filing.
11

12         I certify under penalty of perjury that the foregoing is true and correct, that the foregoing
     document(s) were printed on recycled paper, and that this Declaration of Service was executed by me
13   on December 12, 2014, at San Francisco, California.

14
                                                                         /s/ Joseph Hansen
15                                                                            Joseph Hansen

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        STIPULATION AND [PROPOSED] ORDER RESOLVING DEFENDANTS CHUNGHWA PICTURE TUBES, LTD. AND CHUNGHWA
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                                           MASTER CASE NO. 07-CV-5944 SC
